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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



 UNITED STATES OF AMERICA

 v.                                                 Crim. Action No. 21-618 (ABJ)

 RILEY JUNE WILLIAMS,

                       Defendant.




                                            NOTICE


        Riley June Williams, by and through undersigned counsel, respectfully files this notice of
her intent to present exhibits during sentencing. Trial Exhibits to be used at sentencing include:
       109            CLIP OF TRUMPS SPEECH (DEF TRIAL EXHIBIT)
       117            US V WILLIAMS GRAND JURY TRANSCRIPT
                      (DEF TRIAL EXHIBIT)
       179            SIDLO VIDEO 1_ROTUNDA_REDACTED
                      (DEF TRIAL EXHIBIT)
       180            SIDLO VIDEO 2 – PELOSI OFFICE (DEF TRIAL EXHIBIT)
       158            HUNTER PALM VIDEO_REDACTED
                      (DEF TRIAL EXHIBIT)
       177            CCTV 0931_H230 (DEF TRIAL EXHIBIT)
       159            FBI INTERVIEW OF MARYANN MOONEY RONDON
                      (DEF TRIAL EXHIBIT)
       159A           TRANSCRIPT OF MARYANN MOONEY RONDON INTERVIEW
                      (DEF TRIAL EXHIBIT)
       159H           M RONDON CLIP 7_WHO IN BACKGROUND
                      (DEF TRIAL EXHIBIT 159H)
       159H.1         M RONDON TRANS CLIP 7 (DEF TRIAL EXHIBIT 159H.1)

       159I           M RONDON CLIP 8_SCARF OR GLOVE
                      (DEF TRIAL EXHIBIT 159I)
       159I.1         M RONDON TRANS CLIP 8
                      (DEF TRIAL EXHIBIT 159I.1)
       173            FBI INTERVIEW OF RAFAEL RONDON AUDIO
                      (DEF TRIAL EXHIBIT)
       173E           RONDON INTERVIEW CLIP 5_COMPUTER
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                   (DEF TRIAL EXHIBIT)
      173E.1       TRANS CLIP 5
                   (DEF TRIAL EXHIBIT)
      173F         RONDON INTERVIEW CLIP 6_THEFT DETAILS
                   (DEF TRIAL EXHIBIT)
      173F.1       TRANS CLIP 6
                   (DEF TRIAL EXHIBIT)
      3.2          FACEBOOK STEPHEN HORN VIDEO CLIP
                   (GOVT TRIAL EXHIBIT 3.2)
      103          SNAPCHAT VIDEO FROM SENATE WING_WILLIAMS
                   (DEF TRIAL EXHIBIT)
      7.2          17.1 DEMONSTRATIVE FOR 7.2 T-MOBILE CHAT
                   (GOVT TRIAL EXHIBIT 7.2)
      4.11         RECORDED CALL FROM DEFENDANT
                   (GOVT TRIAL EXHIBIT 4.11)




Date: March 20, 2023                     Respectfully submitted:

                                         /s/ Lori J. Ulrich
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                                         Assistant Federal Public Defender

                                         /s/ Brandon R. Reish
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                                         /s/ Amanda R. Gaynor
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                                CERTIFICATE OF SERVICE


       I, Lori J. Ulrich, Esquire, of the Federal Public Defender’s Office, do hereby certify that I

served a copy of the foregoing Notice via Electronic Case Filing, and/or by placing a copy in the

United States mail, first class in Harrisburg, Pennsylvania, and/or by hand delivery, addressed to

the following:

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       RILEY JUNE WILLIAMS



Date: March 20, 2023                                 /s/ Lori J. Ulrich
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